                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )      NO. 3:10-00258
                                              )      JUDGE CAMPBELL
ALFREDO HERNANDEZ                             )

                                       ORDER

      The sentencing hearing currently scheduled for November 19, 2013, at 9:00 a.m. is

RESCHEDULED for November 19, 2013, at 10:00 a.m.

      It is so ORDERED.

                                              ____________________________________
                                              TODD J. CAMPBELL
                                              UNITED STATES DISTRICT JUDGE




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